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                      BEFORE THE UNITED STATES
             JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

                                          :
In Re: THE GAP, INC.,                     :
COVID-19 LEASE PAYMENT LITIGATIONS :                 MDL No. 2960
                                          :
__________________________________________:




    48TH AMERICAS LLC’S MEMORANDUM OF LAW OF IN OPPOSITION TO
    THE GAP, INC.’S MOTION TO TRANSFER PURSUANT TO 28 U.S.C. § 1407




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                                PRELIMINARY STATEMENT

       48TH AMERICAS LLC (hereinafter, “Respondent”), by and through its undersigned

counsel, Klein Law Group CRE, PLLC, hereby files this Memorandum of Law in Opposition to

the Motion to Transfer Venue, pursuant to 28 U.S.C. §1407 (“Motion to Transfer”) (Docket No.

1).

       Respondent, named in only one case, as the plaintiff in 48th Americas, LLC v. The Gap,

Inc., No. 1:20-cv-03471-PGG (S.D.N.Y.), pending in the United States District Court for the

Southern District of New York (hereinafter, the “Underlying Action”), opposes the motion of

The Gap, Inc. (hereinafter, the “Movant”) for transfer and consolidation of thirty-three different,

distinct and separate cases from a total of thirteen judicial districts and ten states, the so-called

COVID-19 lease nonpayment cases (collectively, the “Actions”).            As explained below, the

Actions do not, beyond a superficial glance, concern common questions of fact, the proposed

transfer does not and would not serve the convenience of the parties and witness, and transfer

and consolidation will not further the just and efficient conduct of the Actions, which involve

distinctly different properties, leases, landlords, claims, and local governmental shelter-in-place

orders and policies. It is anticipated that the opposition of the vast majority, if not all, landlords

to the Motion to Transfer will confirm that nation-wide centralization of a state law issue such as

commercial real estate litigation is unworkable and inappropriate in this instance, and thus

should be denied.

       Differences in the terms of the leases, the parties and their counsel negotiating and

writing the leases, the various localized shelter-in-place orders, and the claims and causes of

action asserted, combine to make the Actions dramatically different from one another, with

virtually no issues of fact common to all or even most actions. Moreover, the many non-


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overlapping landlord parties in the actions, each with its own business strategies, organizational

structures and properties, ensure that consolidation would create more inefficiencies and

conflicts than it could potentially solve.

       Based on a cursory description of the complaints, leases and issues raised in the various

actions it seeks to consolidate, Movant claims that these cases involve “common questions of

fact concern[ing] the highly complex relationship between the rapidly evolving COVID-

pandemic and the public-safety and business environment in which Gap’s stores operate,” and so

should be consolidated and centralized. (Docket No. 1-1 at 2-3.) Even a brief review of the facts,

however, reveals a far different picture - - thirty-three cases, asserting a multitude of claims,

causes of action and legal theories, brought in connection with a wide variety of different leases

with different lease clauses and provisions issued by no less than twenty-seven landlords. The

only common thread connecting the thirty-three cases is the COVID-19 pandemic. That is not

enough to justify transfer and consolidation under 28 U.S.C. § 1407.

                                    STATEMENT OF FACTS

       On or about May 7, 2020, Respondent commenced the Underlying Action against

Movant by filing the Summons and Complaint. A copy of the Amended Complaint, dated May

26, 2020 the “Complaint”), is annexed as Exhibit “4” to the accompany Declaration of Efrem Z.

Fischer, dated August 28, 2020 (“Fischer Decl.”). The Panel is respectfully referred to the

material facts set forth in the Complaint.

       Briefly stated, on or about February 25, 1991, Movant, a clothing and accessories retailer,

entered into a written commercial lease (as further amended, the “Lease”) with its landlord,

Respondent, pursuant to which, Movant was demised portions of the ground floor, basement, and

entire second floor in the building located at and known as 1212 Avenue of the Americas, New



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York, New York (collectively the “Premises”), to operate a retail store. [A copy of the

Agreement of Lease, dated as of February 25, 1991, is annexed to the Declaration of Axel

Stawski, dated August 26, 2020 (“Stawski Decl.”) at Exhibit “1”]. On two separate occasions,

September 22, 2004 and May 18, 2015, in New York, the parties negotiated and agreed to extend

and modify the terms of the Lease. The Lease provides, inter alia, that, for the relevant period at

issue in this action, the Fixed Rent is $3,170,280.30 per year, or $264,190.03 per month, and that

Movant is responsible for items of Additional Rent. [Stawski Decl. at ¶¶6-12 and Exhibits “2”

and “3”].

       Movant breached the terms of the Lease by failing to pay Respondent the Fixed Rent due

each month as well as other items of Additional Rent. Presently, there is now due Respondent the

sum of $1,533,938.02 in Fixed Rent and $33,342.85 in Additional Rent for a total amount due of

$1,567,280.87. Further, Respondent has incurred significant legal expenses in enforcing the

terms of the Lease. [Stawski Decl. at ¶13]. Movant does not dispute the existence of the Lease,

or that it failed to pay these sums. Instead, it seeks this unprecedented consolidation and transfer

to the Multi District Litigation Panel, a blatant delaying tactic to avoid its obligation to pay.

       Based upon the absence of any material issues of fact, Respondent filed and served a

letter with the court in the Underlying Action requesting a pre-motion conference for permission

to move for summary judgment on its claims for breach of contract and attorneys’ fees.

Predictably, the Movant opposed that request and re-affirmed its plan to delay the Underlying

Action by stating its intention to move to stay said action. [Fischer Decl. at ¶¶5-6 and Exhibits

“7” and “8”]. Respondent’s request for a pre-motion conference is presently pending.




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                                          ARGUMENT

                                             POINT I

             MOVANT’S REQUEST TO TRANSFER AND CONSOLIDATE
            THIRTY-THREE DIFFERENT CASES FROM TEN STATES AND
              THIRTEEN JUDICIAL DISTRICTS SHOULD BE DENIED

   A. The Burden of Proof

       28 U.S.C §1407(a)       authorizes the transfer and consolidation of civil actions from

different districts with “common questions of fact” if the judicial panel on multidistrict litigation

(“Panel”) determines “that transfers for such proceedings will be for the convenience of parties

and witnesses and will promote the just and efficient conduct of such actions.” Movant has the

burden of proving that transfer under 28 U.S.C. §1407 is appropriate. See In re Cable Tie Patent

Litig., 487 F. Supp. 1351, 1354 (J.P.M.L. 1980); See, e.g., In re: Best Buy Co., Inc., California

Song-Beverly Credit Card Act Litig., 804 F. Supp. 2d 1376, 1379 (J.P.M.L. 2011). That burden

is substantial, and Movant cannot carry that burden here.

       Movant does not and cannot demonstrate that the Actions have enough overlapping facts

to warrant transfer and consolidation. Sharing “some general common factual questions” is not

enough. In re: Auction Rate Sec. (ARS) Mktg. Litig., 581 F. Supp. 2d 1371, 1372 (J.P.M.L.

2008). Indeed, transfer should be denied where, as here, common factual questions are not

“sufficiently complex and/or numerous,” id., or where “certified and putative classes will likely

not overlap significantly.” In re: Gen. Mills, Inc., Yoplus Yogurt Prod. Mktg. & Sales Practices

Litig., 716 F. Supp. 2d 1371, 1372 (J.P.M.L. 2010); In re Cessana Aircraft Distributorship

Antitrust Litig., 460 F. Supp. 159, 161-62 (J.P.M.L. 1978) (“mere showing that [common]

questions exist is not sufficient, in and of itself, to warrant transfer by the Panel”). As the Panel

has repeatedly emphasized, centralization under Section 1407 “should be the last solution after



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considered review of all other options.” In re: Gerber Probiotic Prods. Mktg. & Sales Practices

Litig., 899 F. Supp. 2d 1378, 1379 (J.P.M.L. 2012) (quoting In re: Best Buy Co. Inc., Cal. Song-

Beverly Credit Card Act Litig., 804 F. Supp. 2d. 1376 (J.P.M.L. 2011)).

       Most recently, in In re Covid-19 Bus. Interruption Prot. Ins. Litig., 2020 U.S. Dist.

LEXIS 144446 (J.P.M.L. 2942, August 12, 2020), the Panel was confronted with two motions to

transfer and consolidate, pursuant to 28 U.S.C. §1407, fifteen actions,1 asserting, inter alia,

declaratory judgment and or breach of contract claims against providers of commercial property

insurance. The plaintiffs therein alleged that the insurance policies provide coverage for business

interruption losses caused by the COVID-19 pandemic and the related government orders

suspending, or severely curtailing, operations of non-essential businesses. In denying the motion

to transfer, the Panel relied, in part, on the fact that the cases arose from distinctly different

insurance policies with different operative provisions.                   Significantly, the Panel found that

“[w]hile the policy language for business income and civil authority coverages may be very

similar among the policies, seemingly minor differences in policy language could have

significant impact on the scope of coverage.” The Panel thus held that the requested MDL

“entails very few common questions of fact, which are outweighed by the substantial

convenience and efficiency challenges posed by managing a litigation involving the entire

insurance industry.” Similarly, in the instant case, the differences in the provisions and language

in over thirty leases, negotiated and drafted by twenty-seven different landlords and their counsel

regarding thirty-three different properties and multiple localized shelter-in-place orders will

overwhelm any common factual question which solely consist of Movant’s attempt to exploit the

COVID-19 pandemic to avoid its obligation to pay rent. Id. (“These differences will overwhelm

any common factual questions”).
       1
           Plaintiffs in more than 175 actions or related action responded to the subject motions.

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   B. Movant Cannot Satisfy Its Burden Of Proof

        In the face of the Panel’s oft-expressed skepticism of consolidation, and the non-

existence of any consolidation of lease nonpayment cases to the MDL, Movant cannot

demonstrate that their proposal for joinder of all COVID-19 lease nonpayment cases will

produce any real efficiencies or other benefits. As a result, transfer and consolidation should be

denied. Simply put, as set forth below, Movant’s latest tactic is wholly without merit, and is

merely an attempt to exploit the COVID-19 pandemic to escape its liability under the Lease.

       If you strip away all of the rhetoric, the Motion to Transfer seeks to wedge cases brought

by and against multiple landlords into one MDL proceeding that would dramatically complicate,

not simplify, the cases. First, the commercial landlord-tenant business is uniquely governed by

state law which will control the outcome of any particular lease dispute, and therefore, any

commercial landlord-tenant disputes are particularly unsuitable for MDL proceedings.

Furthermore, there are no common issues of fact or law that traverse the proposed MDL or

govern cases by and against numerous individual landlords, each with their own individual leases

and properties, and subject to shelter-in-place orders issued in states with different applicable

laws. To further make the case unsuitable for MDL treatment, there are no common issues of law

or fact as to even one landlord, as each utilizes multiple lease forms, with uniquely crafted lease

riders, rather than a standard form used nationwide by the entire commercial real estate industry.

       The types of landlords and tenant businesses to be addressed in these cases also vary

widely and would require a panoply of different experts to address the claims unique to each

tenant’s individual business and business environment. The variation in lease language and facts

is even wider and less standard than in many other contexts. Centralizing these cases in one

district, therefore, not only would create no meaningful efficiencies, it would be far less efficient



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than permitting federal courts to apply the commercial real property and contract laws of the

states where they sit, with which they are familiar. For these reasons, the Motion to Transfer

should be denied.

        1. The Actions Do Not Involve Common Questions of Fact

        The factual overlap among the Actions starts and finishes with the COVID-19 pandemic

and the refusal of Movant to satisfy its payment obligations under the various leases, relying on

COVID-19. Thus, the actions “possess only a superficial factual commonality.” In re Fla.,

Puerto Rico, & U.S. Virgin Islands 2016 & 2017 Hurricane Seasons Flood Claims Litig., 325 F.

Supp. 3d 1367, 1368 (J.P.M.L. 2018).

        As mentioned previously, there are many landlords and leases from multiple states

involved in these lease nonpayment litigations. The leases are not uniform. They have

differences in available clauses, terms, and conditions. Interpretation of the leases will likely play

a significant role in this lease nonpayment litigation, as the numerous parties will have different

theories and arguments regarding performance during the COVID-19 pandemic and under the

various shelter-in-place orders. It is well settled that, unless there exists a preemptive federal law,

commercial landlord-tenant and contract law is a substantive issue governed and interpreted in

accordance with state law. Bartsch v. Metro-Goldwyn-Mayer, Inc., 391 F.2d 150, 153 (2d Cir.

1968) (Friendly, J.) ("The development of a federal common law of contracts is justified only

when required by a distinctive national policy . . . .") (quotation marks omitted). As such, lease

interpretation will differ by state, and the impact of state law on these leases and the substance of

the leases themselves can in turn influence a party’s strategy and discovery. Simply put, the

differing methods of interpreting lease contracts is a significant factor that weighs against

multidistrict litigation.



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        The failure of Movants to satisfy the first requirement of 28 U.S.C. §1407 - -

demonstrating common questions of fact - - is further evident from the Motion to Transfer’s

competing claims on the issue. On the one hand, the Movant alleges “the frustration of the

essential purposes of its retail store leases, excused GAP from its obligation to pay rent.”

(Docket No. 1-1 at 10.) In contrast, the Motion to Transfer then claims “factual questions

concerning such matters as the public safety issues posed by COVID-19 in general and to its

retail stores . . .   the government orders mandating closures.” (Docket No. 1-1 at 11.) This

conflation of factual issues within the same Motion to Transfer, such as the admitted failure to

pay on the one hand, and the differing leases and localized shelter-in-place orders on the other,

highlights the critical factual differences amongst the Actions that the Motion to Transfer fails to

address, i.e., different leases, landlords, properties, and shelter-in-place orders. Differences like

these among the subject landlords and leases have led the Panel to conclude in other matters that

such litigation does not contain “sufficient common questions of fact to justify” the requested

nationwide centralization. In re Credit Card Payment Prot. Plan Mktg. and Sales Practices

Litig., 753 F. Supp. 2d 1375, 1376 (J.P.M.L. 2010). Instead, such differences are likely to give

rise to individualized and case-specific factual, discovery and legal issues that will likely be

numerous and substantial.

        It is self-evident that no court can reach any result in any of the Actions without first

interpreting the underlying lease’s operative language. The threshold questions of contractual

meaning necessary to these cases are wholly inappropriate for centralization because they will

require any court that entertains them to analyze each and every lease individually to determine

the parties’ obligations and the limited parameters for excusing payment obligations. These

questions include what circumstances could trigger each lease’s specific force majeure clause,



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whether the COVID-19 pandemic was foreseeable, and whether Movant was able to continue to

use the property as the parties intended under the subject lease.

       By way of illustration, the Lease entered into between Respondent and Movant permits

and intends the use of the subject premises as a retail store, for storage of stock and for office

purposes. In contrast, other leases limit the use of the premises to “retail” purposes and different

operative language, as exemplified in Table 1:

               Table 1: Sample Variations In Permitted Use Clauses In Lease

Landlord                                              Lease Language

48th Americas LLC                                     “storage of stock” and “office purposes.”
(Stawski Decl.; Exhibit “1” at Lease Art. 13.1)
State Randolph LLC                                    “Retail sale of women’s men and children’s
(Docket No. 1-11, at Lease Art. 1.1(r ))              closing and accessories”
Strip Delaware LLC                                    “Any lawful retail purpose or purposes”,
(Docket No. 1-21, at Lease Art. 3.01)                 “ATM’s”, “Vending Machines” and “Coffee
                                                      and Juice Bar”
CP Commercial Delaware LLC                            “Primarily for the sale of wearing apparel and
(Banana Republic LLC)                                 related accessories”
(Docket No. 1-23, at Lease Arts. 1.18 and
13.1)
CP Commercial Delaware LLC                    Primarily for the sale of wearing apparel and
(The Gap, Inc.)                               related accessories,” subject to the restrictions
(Docket No. 1-24, at Lease Arts. 1.18 and 13) of 13.2 and 13.3


       As illustrated above in Table 1, the very first step of any lease dispute analysis - -

reviewing the lease clause’s language - - is far from uniform across commercial leases. In light

of this unavoidable reality, any court that decides these cases will be required to determine how a

lease that permits and intends for storage of stock and office purposes interacts with a

coronavirus claim differently than a lease that limits its use to the “sale of wearing apparel and

accessories.” Inevitably, every single lease clause will have to be examined individually in the




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context of the actual claim or cause of action before a court could reach any conclusion about

whether the Movant can avoid its liability under the respective lease.

       Moreover, the individualized issues will continue with respect to the governmental orders

which allegedly give rise to all of the Movant’s claims. The Lease at issue in the Underlying

Action does not even provide an excuse to avoid payment during a governmental shutdown, yet

this is may be a primary issue in other cases that the Movant seeks to consolidate. Such issues in

the lease nonpayment litigation will include the differing civil authority regulations (or lack

thereof) designed to address the spread of COVID-19, including when the order became

effective, the types of businesses that were affected, the level of restrictions placed upon

businesses (e.g., full closures vs. reducing the hours of operation vs. limited the capacity of

customer), and the length of time the restrictions were in effect. Importantly, many states never

issued an order requiring businesses to completely shut down. Furthermore, even in those states

which required businesses to close down, there were differences between the orders requiring the

investigation of specific questions such as (1) was the Movant considered an “essential business”

and, thus, allowed to continue operating, (2) even if the business was not deemed as “essential,”

did the state or local jurisdiction permit the business to remain partially open, (3) for what date(s)

was a particular Movant store subject to a closure order and how did it respond, and (4) why,

precisely, did the Movant cease operating its business - - because the government required it, or

because, for example, the business is dependent on foot-traffic and suffered because people

stopped travelling when news of COVID-19 became public. Resolution of these individual issues

will be necessary in any litigation based on a theory of governmental orders triggering lease

provisions that allegedly excuse payment. These issues are individualized. However, they are

not sufficiently complex such that a consolidated proceeding is necessary to determine what



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governmental orders were issued, and whether a particular Movant store was subject to the

orders.

          Undoubtedly, combining the cases for the purpose of determining the effective date and

effect of the governmental orders will not determine or facilitate the resolution of any pending

case brought by or against these landlords. For all of the leases, Movant will be required to show

that it is in a jurisdiction where an order was issued requiring it to allegedly stop operating.

          Similarly, because the landlords do not all have the same lease, the different leases will

provide different provisions for when a tenant is excused from payment, if at all. Each lease will

provide for different definitions, terms and conditions in each lease. An additional material issue

that will not be the same for all parties concerns the Movant’s compliance with the lease terms

and conditions of the leases, e.g., the Movant may have complied with the terms and conditions

of their leases at some properties, but may have only partially complied or failed to comply with

the terms and conditions of their leases. In that regard, the Movant’s compliance/noncompliance

can have significantly different consequences depending on the state law that applies to the

subject lease. A related issue that will not be the same for all landlords is the extent to which they

suffered losses, i.e., the amount of damages.

          Finally, while Movants have attempted to identify several “horn-book law” common

legal issues such as breach of contract, that may arise in the Actions, common questions of law

are insufficient to warrant transfer and consolidation under § 1407. See, e.g., In re Clean Water

Rule: Definition of “Waters of the United States”, 140 F. Supp. 3d 1340, 1341 (J.P.M.L. 2015)

(“[T]hese actions will turn on questions of law . . . . Accordingly, centralization under Section

1407 is inappropriate.”).




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       In sum, the Action do not involve common questions of facts, and therefore, the Motion

to Transfer should be denied.

       2. Transferring The Actions Will Not Convenience The Parties Or Witnesses
          And Will Not Promote The Just And Efficient Conduct Of The Actions

       The existence of approximately twenty-seven different landlords, thirty-three different

Actions, thirteen judicial districts and ten states overwhelms the superficial factual similarities

among the Actions for the purposes of transfer and consolidation. Further, MDLs have the

potential to prolong pretrial proceedings because of the need for separate discovery and motion

tracks. See, e.g., In re Proton Pump Inhibitor Products Liab. Litig., 273 F. Supp. 3d 1360, 1362

(J.P.M.L. 2017); In re Invokana (Canagliflozin) Products Liab. Litig., 223 F. Supp. 3d 1345,

1348 (J.P.M.L. 2016).      In re Proton Pump Inhibitor Products Liab. Litig. is particularly

instructive in that regard. In that decision, the Panel recognized that each of the plaintiffs’ cases

stemmed from allegations that taking pump inhibitors could “result in various types of kidney

injury,” but the Panel still denied MDL consolidation. Id. at 1361. The Panel noted that “the

named defendants var[ied] from action to action,” meaning that consolidation was “unlikely to

serve the convenience of most, if not all, defendants and their witnesses.” Id. at 1361-62; In re

Ambulatory Pain Pump-Chondrolysis Products Liab. Litig., 709 F. Supp. 2d 1375, 1377

(J.P.M.L. 2010) (denying consolidation of over one hundred cases in part because most of the

defendants were named “in only a minority of actions”).

       The Panel, in In re Proton-Pump Inhibitor, also recognized that a significant amount of

discovery was “almost certain to be defendant-specific” and that the prospect of future cases

(even “by the hundreds”) does not affect the initial calculus as to whether MDL consolidation is

appropriate. In re Proton Pump Inhibitor, 273 F. Supp. 3d at 1362. The same pivotal factors

that proved decisive in In re Proton-Pump Inhibitor equally apply here. The named landlords

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vary from case to case, and thus consolidation is “unlikely to serve the convenience of most, if

not all, defendants and their witnesses.” 273 F. Supp. 3d at 1362. In that regard, no steps have

been taken by Movant to pursue alternatives to centralization. Movant did not engage in any

informal coordination of discovery or scheduling, and did not seek to change venue under 28

U.S.C. §1404. Accordingly, because Movant does not and cannot carry their burden of proving

that transfer and consolidation are warranted under 28 U.S.C. §1407, the Motion to Transfer

should be denied.

        Movant’s heavy reliance upon In re Westinghouse Elec. Corp. Uranium Contracts Litig.,

405 F. Supp. 316 (J.P.M.L. 1975), is entirely misplaced. In that case, Westinghouse Electric

Corporation was sued for its failure to honor contractual obligations to sell uranium to the

plaintiff utility companies. Relying on Section 2-615 of the Uniform Commercial Code,

Westinghouse Electric Corporation claimed its performance under the contracts was excused

based upon the commercial impracticability of the price and supply of uranium. The Panel found

common issues of law and fact to warrant transfer under 28 U.S.C. §1407. However, in

Westinghouse, the factual determination of the commercial impracticability of the price and

supply of uranium, under 2-615 of the Uniform Commercial Code, was the sole issue. By way

of contract, in the instant Motion, the Actions implicate a multitude of state laws, shelter-in-place

orders, various lease provisions, and whether the effects of the COVID-19 pandemic were

foreseeable to be negotiated for in the leases. As such, Westinghouse is clearly inapposite to the

case at bar.

        Significantly, judicial economy will not be served by inconveniencing the many parties

and their counsel who do not reside in or maintain business offices in the proposed venue.

Many, if not most, of the parties and their counsel - including Respondent and its counsel - do



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not have places of business in California, and litigating in California would inconvenience those

parties and their counsel. For instance, Respondent and its counsel are located in New York,

New York, while Movant is in San Francisco, California (Movant also has offices in New York,

New York). Respondent’s affected property is located in New York, and the Lease to the

Premises was negotiated and executed in New York. Many other parties engaged in the

nonpayment litigation will be similarly inconvenienced by having the litigation take place

outside of the district where their respective lawsuits were originally filed.

        Finally, judicial economy will not be served by combining the Actions because

additional lawsuits involving more landlords and more leases will likely arise in the future. As

Movant continues to weather the adverse economic impact of COVID-19 and assess its losses, it

is very likely that more lease nonpayment cases against Movant will follow in the coming days,

months, and even years, as additional Movant stores close.2 The likely scenario of future

COVID-19 nonpayment lawsuits involving different landlords and different leases makes it less

likely that multidistrict litigation would be significantly more efficient and lead to more uniform.

        In sum, because judicial economy will not be served by combining the Actions, the

Motion to Transfer should be denied.




        2
           Subsequent to the filing of the instant Motion to Transfer, Movant permanently closed additional stores.
See, e.g., Shwanika Narayan, “Most San Francisco Gap stores close permanently, including Market Street flagship”,
San Francisco Chronicle (August 18, 2020)

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                                        CONCLUSION

       For the foregoing reasons, the multidistrict litigation model is inappropriate for COVID-

19 lease nonpayment litigation, and the Motion to Transfer should, therefore, be denied.

Dated: New York, New York
       August 28, 2020
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